Case 8:21-cv-02487-VMC-JSS Document 8 Filed 12/17/21 Page 1 of 2 PageID 102




                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF FLORIDA

DISPLAY TECHNOLOGIES, LLC,         §
                                   §
      Plaintiff,                   §         Case No: 8:21-cv-02487-VMC-JSS
                                   §
vs.                                §         PATENT CASE
                                   §
MICROLIFE USA, INC.,               §
                                   §
      Defendant.                   §
__________________________________ §

      NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

      Plaintiff Display Technologies, LLC (“Plaintiff” and/or “Display”) files this

Notice of Voluntary Dismissal Without Prejudice pursuant to Federal Rule of Civil

Procedure 41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an action may be

dismissed by the plaintiff without order of court by filing a notice of dismissal at

any time before service by the adverse party of an answer. Accordingly, Plaintiff

hereby voluntarily dismisses this action against Defendant Microlife USA, Inc.

without prejudice, pursuant to Rule 41(a)(1)(A)(i) with each party to bear its own

fees and costs.




 NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE                             Page | 1
Case 8:21-cv-02487-VMC-JSS Document 8 Filed 12/17/21 Page 2 of 2 PageID 103




Dated: December 17, 2021.             Respectfully submitted,


                                             /s/ Barbra A. Stern
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                                      ATTORNEY(S) FOR PLAINTIFF


                          CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true copy of the foregoing was filed
electronically and served by operation of the Court’s electronic filing system on
December 17, 2021. Parties may access the foregoing through the Court’s system.

                                      /s/Barbra A. Stern
                                      Barbra A. Stern, Esquire




 NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE                            Page | 2
